Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 1 of 7 PageID 13
Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 2 of 7 PageID 14
Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 3 of 7 PageID 15
Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 4 of 7 PageID 16
Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 5 of 7 PageID 17
Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 6 of 7 PageID 18
Case 6:22-mj-01656-LHP Document 10 Filed 06/24/22 Page 7 of 7 PageID 19
